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                                                                      FILED 9 APR '1314:33/..~DC-IJRP


                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION

UNITED STATES OF AMERICA,                )
                                         )         Case No. 3:13-CR-00064-HZ
                      Plaintiff,         )
                                         )         SUPERSEDING
               v.                        )         INFORMATION
                                         )
CYRUS ANDREW SULLIVAN,                   )         [18 U.S.C. § 875(c)]
                                         )
                      Defendant.         )

                     THE UNITED STATES ATTORNEY CHARGES:

                                   COUNT 1
                    [MAKING A THREATENING COMMUNICATION]

       On or about June 4, 2012, in the District of Oregon, defendant Cyrus Andrew Sullivan

knowingly transmitted and caused to be transmitted in interstate or foreign commerce a

communication containing a threat to injure the person of another, to wit, an email communication

via the Internet containing a threat to kill another person, A.K., which a reasonable person would

take as a serious expression of an intention to inflict bodily harm upon A.K. All in violation of

Title 18, United States Code, Section 875(c).
                    Q-1~
       Dated this _L__ day of April, 2013.

                                                     S. AMANDA MARSHALL
                                                     United States Attorney
